AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE
                                                                                   (For Revocation of Probation or Supervised Release)
          V.                                                                       (For Offenses Committed On or After November 1, 1987)



JERIMI MISHOME SIMS                                                                Case Num ber: DNCW 501CR000005-024
                                                                                   USM Num ber: 16608-058

                                                                                   Tanzania Cannon-Eckerle
                                                                                   Defendant’s Attorney

THE DEFENDANT:

X         adm itted guilt to violation of condition(s) 2, 3 & 4 of the original petition & 1 of the addendum of the term of
          supervision.
X         was found in violation of condition(s) count(s) 1 of the original petition after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):


                                                                                                         Date Violation
 Violation Num ber                    Nature of Violation                                                Concluded

 1                                    New law violation                                                  4/4/11

 2                                    New law violation                                                  4/4/11

 3                                    Drug/alcohol use                                                   4/7/11

 4                                    Failure to com ply with drug testing/treatm ent                    6/30/10
                                      requirem ents

 1 of the addendum                    Association with convicted felons and failure to follow            4/21/11
                                      instructions of the probation officer

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

          The Defendant has not violated condition(s)                         And is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                                   Date of Im position of Sentence: June 13, 2011

                                                                                      Signed: June 20, 2011




                    Case 5:01-cr-00005-KDB                      Document 925             Filed 06/20/11        Page 1 of 2
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: JERIMI MISHOME SIMS                                                                           Judgm ent-Page 2 of 2
Case Num ber: DNCW 501CR000005-024

                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of FORTY-SIX (46) MONTHS IMPRISONMENT.

NO TERM OF SUPERVISED RELEASE TO FOLLOW TERM OF IM PRISONM ENT


X         The Court m akes the following recom m endations to the Bureau of Prisons:

           That defendant be designated to FCI Butner or som e other facility that can address his m edical and psychological
issues.

X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               As notified by the United States Marshal.

                                Before 2 p.m . on ___.

                               As notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                              ___________________________________________
                    United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal




                    Case 5:01-cr-00005-KDB                      Document 925       Filed 06/20/11   Page 2 of 2
